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            EXHIBIT J
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                       Apache Harmony m


General

     How do I subscribe to the mail list?

       You can subscribe by sending an email to dev-subscribe@harmony.apache.org. You will receive a
       confirmation request that you must respond to. After that, you can post to the dev list
       dev@harmony.apache.org. Ptease see our mailing list page for more information.


Technical

     When building the classlibrary, ant crashes with a compiler error, a heap error, or a reflection error.
       These problems are all symptomatic of running out of java heap for ant. The solution is to set the
       ANT_OPTS environment variable to someth ing bigger than the default. At the time of th is writing,
       best practice is to set:


                set ANT OPTS .. " -Xmx256M"




     Why doesn't Eclipse recognise my Harmony installation?
       To teach Eclipse about the Apache Harmony layout requi res installing a VM-type plug-in . Follow the
       instructions on our website for installing the plug-in .


Original FAQ Questions from Project Launch

     Why are you doing this?

       We believe that there is broad community interest in coming together to create and use an open
       source, compatible implementation of J2SE 5, the latest version of th e Java 2 Standard Edition
       specification .

     What version of Java wilt you be implementing?
       We are starting with Java SE 5, as that is the first version of Java SE for which the licensing allows
       an open source implementation , but we'll continue with Java SE 6 and any subsequent versions that
       follow.

     Why haven't you done this before?

       Whil e the Java Community Process has allowed open source implementations of JSRs for a few
       years now, Java 5 is the first of the J2SE specs that we are able to do due to licensing reasons .

     Are you doing this to attack Sun ?

       No, of course we aren't. Apache doesn't support projects that attack any entity, corporate or
       otherwise. Sun has been a long-time supporter of Apache and Apache projects, and Apache has a
       wide variety of projects that are implementations of Java specifications , such as Apache Geronimo,
       Apache Tomcat, Pluto, taglibs , etc.
       This project is open to every interested member of the Java community. and every interested




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       member is welcome to participate in whatever manner they choose .

     Are you doing this because Sun refuses to release their source for J2SE under an open source
     license?

       Not really. We would welcome Sun doing that (as well as anyone else wI a J2SE implementation! )
       as it would save us a lot of time, and we wholeheartedly encourage them to do so ;) but Sun has the
       right to do what it chooses with iI's intellectuat property. Since we started the project, Sun has
       announced that they will be open sourcing their im plementation , and they've started the process. Of
       course , we'll continue to develop Apache Harmony - multiple independent implementations of Java
       SE is good for the Java ecosystem .

     Will your implementation be compatible with the specification?
       Ves

     How will you know?
       We are going to test it with th e TCK from Sun .

     How wilt you license the TCK from Sun , Isn't it expensive?

       Sun offers scholarshi ps to qualified non-profits , academics and individuals. Apache is a qualified
       non-profit , and has benefitted from this scholarship before , with the J2EE 1.4 TCK license and
       support for the Apache Geronimo project, among others.
       We will apply for the scholarship , and hope that Sun will grant us the license and support needed for
       us to do a good job.

     How long will it take?
       It will be done when it's done :) This will take a long time , but we hope that contributions from around
       the community will help us along the way.

     Do you have any code to start?
       No, we don'l. We didn't want to "bless" any given implementation that might be donated (if such a
       thing could happen) but would rather let the community decide how it will create and develop the
       platform.

     Will you accept SWT if IBM offers it?

       Apache is always grateful for contributions from wherever they come, and IBM has a record of
       contributions to open source, but it would up to the project community to decide whether any
       particular contribution was used in the project.

     Why are you going to have an architecture thread?
       We wanted a way that we could bring together people from all over the Java community, even other
       open-sou rce projects that are related . We welcome everyone to the discussion, no matter what
       license they choose to implement under, be it a free software license, an open source license o r a
       proprietary license. We are here to open discussion and leaming , and to design a great architecture
       for J2SE platforms.
       At Apache , we think that a strong, diverse , meritocratic community is what makes a good open
       source project, and we want to be sure that everyone can participate in some way.

     Does this compete with Kaffe and Class path?
       People from Kaffe and Classpath are helping start this project! Thei r experience in the ope n source
       VM and class library is invaluable, and they bring problems that the larger architecture community
       discussion can help solve.
       We will have an implementation under the Apache License, but we think of th is as complementary
       rather than competitive. And when we solve a few small license interoperability issues, we expect




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        we'll be able to complement each other even more.

      How will you ensure that the intellectual property of Sun and others is respected?
        Good question - this is a very important issue for us. There are several ways, but this will be a topic
        for the community to work on at the beginning. So far we've thought of:
                 • We shall ask any person that would be a committer to declare what kind of non-open-
                   source class library or VM source code Ihey have been exposed 10, and allow us to keep
                   them from participating in the related parts of the codebase where they may
                   inadvertently violate the IP rights of someone else.
                 • We shall require that any code contribution that isn't a new, original work of authorship
                   created expressly for the Apache Harmony project be subject to the standard Apache
                   process for provenance and licensing to ensure that we have an accurate record of
                   every contribution that wasn't created expressly inside the Apache Harmony project.
                 • We would like to perform continuous "surveillance" on the codebase we are building, and
                   compare to class library and VMs from elsewhere , like Sun, IBM , BEA, Kaffe, etc to
                   ensu re that no code from those efforts become part of Apache Harmony without our
                   knowledge. We do this to protect ourselves , our users , and of course those other efforts.
                   We don't know yet how to do this, but are exploring ideas such as having a third party
                   such as Black Duck or an existing licensee (or Su n! ) do this for us . This, like all the
                   topics herein, are open for discussion an change by the community.
                 • Anything anyone can think of!

     Won't this lead to fragmentation in the Java community?
        We don't think so. Our intent is to bring people togethe r, let us share what we know, solve common
        problems, and collaborate on things where we can. A diverse Java community is a healthy Java
        community. Multiple implementations of the Java specifications show the value of Java - that we do
        have a specification , that anyone is free to make a compatible implementation, and that users of
        Java have the opportunity to run their Java code in more places, on more platforms. This is the
        central promise of Java , and we think that O U f efforts support this.

      How can I get involved and help influence and shape this proposal? Or is it too late?

        Join the community and participate! It's never too late! We're just getting started , and everything is
        open to discussion - the community will change what the commun ity wan ts to change. What we do
        in this project is decided by those participating in the project. This is the Apache Software
        Foundation - collaborative, meritocratic, and commun ity-based .

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